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—__bivit ey SERVED ON
COLINSEL/PARTIES OF RECORD |
Michelle Bertsch Bo EN
4030 Deerfield Avenue q f ;
Las Vegas, Nevada 89147
702-371-8288 Grae gS
In Proper Person RY DISTRICT OF NEVAD; un
beg
UNITED STATES DISTRICT COURT ~
DISTRICT OF NEVADA
MICHELLE BERTSCH, |
Plaintiffs,
vs. 2:18-cv-00290-GMN-GWF

DISCOVER FINANCIAL SERVICES, CHASE BANK
SEARS CITIBANK DBA CBNA, US BANCORP,
BANK OF AMERICA, N.A., SYNCHRONY
FINANCIAL, AND ROES I THROUGH X,
INCLUSIVE,

Defendants.

 

 

 

COMPLAINT
(DEMAND FOR JURY TRIAL)
A. JURISDICTION
1) MICHELLE BERTSCH, is a citizen of Nevada, who presently resides at 4030
Deerfield Avenue, Las Vegas, Nevada 89147.
2) Jurisdiction is invoked pursuant to
3) Defendant, Discover Financial Services (hereinafter referred to as “Discover”) is 4
banking institution conducting business in the State of Nevada, as a foreign entity;
4) Defendant, Chase Bank (hereinafter referred to as “Chase”) is a banking institution

conducting business in the State of Nevada, as a foreign entity;

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1)

Defendant, Sears Citibank dba CBNA (hereinafter referred to as “CBNA”) is a banking
institution conducting business in the State of Nevada, as a foreign entity;

Defendant, US BANCORP (hereinafter referred to as “US Bank”) is a banking
institution conducting business in the State of Nevada, as a foreign entity;

Defendant, Bank of America, N.A. (hereinafter referred to as “Bank of America”) is a
banking institution conducting business in the State of Nevada, as a foreign entity;
Defendant, Synchrony Financial (hereinafter referred to as “Synchrony”) is a banking
institution conducting business in the State of Nevada, as a foreign entity;
That the parties have diversity and the matter has damages in excess of $75,000, thug
jurisdiction is invoked pursuant to federal law.

GENERAL ALLEGATIONS

The true names and capacities, whether individual, corporate, associate or otherwise}
of Defendants ROE I through X, inclusive, are unknown to Plaintiffs, who therefore
sue said Defendants by such fictitious names. The Plaintiffs are informed, believe and
thereupon allege that the Defendants designated herein as ROE I through X, inclusive
are any one of the following:

i. Parties responsible in some manner for the events and happenings herein
referred to that caused injuries and damages thereby to the Plaintiff ag
herein alleged;

ii. Parties that are the agents, servants, employees and/or contractors of
the Defendants, each of them acting within the course and scope of their

agency, employment or contract;

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iii. Parties that have assumed or retained the liabilities of any of the

Defendants by an agreement, sale, transfer or otherwise;
iv. The Plaintiffs will ask leave of the Court to amend this Complaint to
insert the true names and capacities of said Defendants, ROES A-Z,
inclusive, when the same have been ascertained by the Plaintiff, together
with appropriate charging allegations, and to join said Defendants in the

action;

2) Jurisdiction is invoked pursuant to federal law.
3) That Plaintiff wrote a Qualified Written Request Non Negotiable Dispute of Alleged
Debt to Defendants, DISCOVER FINANCIAL SERVICES, CHASE BANK, SEARS
CITIBANK DBA CBNA, US BANCORP, BANK OF AMERICA, N.A.

SYNCHRONY FINANCIAL ON OR ABOUT NOVEMBER 2, 2017;
4) That Plaintiff properly notified Defendants that she was a victim of identity theft, and
requested validation of the debts incurred;
5) That Plaintiff rightfully disputed countless credit card transactions with all Defendants|
to no avail;
6) That Plaintiff was named as a Defendant in a US Department of Justice lawsuit in case
number 16-CR-00466;
7) That Plaintiff was a victim of identity theft that was processed through the US
Department of Justice, wherein a criminal case proceeded against several Defendants,
including, but not limited to Jason Gallagher, Anthony Swiantek, Donadl Schnock:

Brian Phillips, Scott Shocklee, Jennifer Hansen, Timothy Murphy, Andre Devoe!

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Michael Silver, John Balleweg, Dean Miller, Cybill Osterman, Michael McNeill!
Ashley Powell, Shawn Casey, Philip Hale, Thomas Silha, Bruce Doll, Joshua Flynn;

8) That Defendants were indicted by the Federal Trading Commission for illegally billing
for services;

9) That Defendants continued to litigate the debts as valid debts, despite Plaintiff's filing
of fraudulent charges.

FIRST CAUSE OF ACTION
(VIOLATION OF SECURITIES EXCHANGE ACT OF 1934)

10) Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

11) That Plaintiff was and is a victim of identity theft, and such identity theft was properly
reported to the credit providers, Defendants as stated herein;

12) That Plaintiff purchased identity theft protection through the credit provider;

13) That Defendants did not fully comply with the terms of the agreement set forth therein;

14) That Defendant had the intention of defrauding Plaintiff by failing to honor the identity
theft program as sold to Plaintiff;

15) That Defendant was fully aware that their representations were false;

16) The Defendants breached that promise without good cause and in bad faith;

17) The breach by the Defendants of their promise, which was willful or negligent, was
conducted by such malice, insult, and abuse that it constituted an independent tort, thug

entitling the Plaintiff to recover punitive damages as well as actual damages;

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18) That it may be necessary for Plaintiff to retain the services of an attorney to prosecute

(VIOLATION OF 31 CFR 103.35 FINANCIAL RECORDKEEPING AND REPORTING)

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this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

SECOND CAUSE OF ACTION

Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin:
to proof at the time of trial.

Plaintiff prays for relief in the form of damages according to proof, at the time of trial.
Plaintiff further seek full compensation for the time and money expended in pursuit of

the property and punitive and exemplary damages and such further relief as this Court

deems

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13 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

14 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

15 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

16 That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

THIRD CAUSE OF ACTION
(VIOLATION OF 17 CFR 240.15C1-2 FRAUD AND MISREPRESENTATION)

17 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

18 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

19 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

20 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

21 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.
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22 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according

to proof at the time of trial.

 

23 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.
24 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

25. Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

26 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

27 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

28 That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

FOURTH CAUSE OF ACTION
(VIOLATION OF 18 USC 1956 LAUNDERING OF MONETARY INSTRUMENTS)
29 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;

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30 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
31 As aresult of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
32 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
33 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

34 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

35 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

36 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

37 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

38 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

39 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the

Plaintiff to recover punitive damages as well as actual damages;
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40 That it may be necessary for Plaintiff to retain the services of an attorney to prosecutd
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and

costs of suit incurred herein.

FIFTH CAUSE OF ACTION

(VIOLATION OF 18 USC 1957 ENGAGING IN MONETARY TRANSACTIONS IN
PROPERT DERIVED FROM SPECIFIED UNLAWFUL ACTIVITY)

41 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
42 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
43 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
44 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
45 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

46 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin
to proof at the time of trial.

47 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

48 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

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49 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

50 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

51 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

52 That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

SIXTH CAUSE OF ACTION

(VIOLATION OF 31 USC 5324 STRUCTURING TRANSACTION TO EVADE
REPORTING REQUIREMENTS)

53 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
54 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
55 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
56 Plaintiff is entitled to damages and repossession of the converted monies and will seek

their election of remedies, at the time of trial.

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Plaintiff is further entitled to compensation for the time and money expended in pursuit
of the removal of the fraudulent charges.
Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.
Plaintiff prays for relief in the form of damages according to proof, at the time of trial.
Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems
Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.
Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.
The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;
That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

SEVENTH CAUSE OF ACTION

(VIOLATION OF TRUTH AND LENDING ACT SECTION 1640H)

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65 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
66 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
67 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
68 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
69 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

70 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

71 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

72 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

73 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

74 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further

relief as this Court deems just and proper.

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75 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

76 That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

EIGHTH CAUSE OF ACTION
(VIOLATION OF ANTI TRUST LAW)

77 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

78 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

79 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

80 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

81 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

82 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

83 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

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84 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

85 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

86 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

87 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

88 That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

NINTH CAUSE OF ACTION
(VIOLATION OF THE UNFIROM DECEPTIVE TRADE PRACTICES ACT)

89 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

90 Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

91 As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at

the time of trial, including all damages, in excess of $75,000.

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92 Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
93 Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

94 Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

95 Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

96 Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

97 Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

98 Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

99 The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

100That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TENTH CAUSE OF ACTION
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(BANK FRAUD)

101Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

102Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

103As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

104Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

105Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

106Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

107Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

108Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

109Plaintiff request this Court grant costs with actual damages, statutory damages, and

such further relief as this Court deems just and proper.

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110Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.
111The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;
112That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
ELEVENTH CAUSE OF ACTION
WIRE FRAUD
113Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
114Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
115As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
116Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
117Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

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118Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

119Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

120Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

121Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

122Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

123The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

124That it may be necessary for Plaintiff to retain the services of an attorney to prosecut¢
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWELVETH CAUSE OF ACTION
(VIOLATION OF THE CONSUMER CREDIT COST DISCLOSURE ACT)
125Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;

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126Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
127As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
128Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
129Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

130Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

131Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

132Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

133Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

134Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

135The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the

Plaintiff to recover punitive damages as well as actual damages;
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136That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
THIRTEENTH CAUSE OF ACTION
(VIOLATION OF FAIR ADVERTISING)
137Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
138Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
139As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
140Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
141Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

142Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

143Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

144Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

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145Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

146Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

147The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

148That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

FOURTEENTH CAUSE OF ACTION
(VIOLATION OF UNFAIR SALES ACT)

149Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

150Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

151As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

152Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

153Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.
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154Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

155Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

156Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

157Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

158Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

159The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

160That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

FIFTEENTH CAUSE OF ACTION

(VIOLATION OF UNFAIR COMPETITION)

161Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;

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162Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
163As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
164Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
165Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

166Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin,
to proof at the time of trial.

167Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

168Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

169Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

170Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

171The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the

Plaintiff to recover punitive damages as well as actual damages;
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172That it may be necessary for Plaintiff to retain the services of an attorney to prosecute

this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and

costs of suit incurred herein.

SIXTEENTH CAUSE OF ACTION
(VIOLATION OF 12 USCA SEC 1831N(A)(2)(A) AND CFR 741.6(B)(GAAP))

173Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;
174Plaintiff is informed and believes, and alleges that the property was for Defendant's

own purposes of retaining the fraudulent charges.
175As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at

the time of trial, including all damages, in excess of $75,000.
176Plaintiff is entitled to damages and repossession of the converted monies and will seek

their election of remedies, at the time of trial.
177Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

178Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

179Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

180Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

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181Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

182Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

183The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

184That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

SEVENTEENTH CAUSE OF ACTION
(VIOLATION OF 18 USC 513 AND 514 COUNTERFEITING AND FORGERY)

185Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

186Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

187As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

188Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

189Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.
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190Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin
to proof at the time of trial.

191Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

192Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

193Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

194Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

195The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

196That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

EIGHTEENTH CAUSE OF ACTION

(VIOLATION OF PRO OFFERING OF INVESTMENT SECURITIES)

197Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;

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198Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
199As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
200Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
201Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

202Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin
to proof at the time of trial.

203Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

204Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

205Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

206Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

207The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the

Plaintiff to recover punitive damages as well as actual damages;
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208That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
NINETEENTH CAUSE OF ACTION
(VIOLATION OF 12 USC CHAPTER 2 SUBCHAPTER 4 SECTION 83(A))
209Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
210Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
211As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
212Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
213Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

214Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin
to proof at the time of trial.

215Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

216Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

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(VIOLATION OF LAW BY ACTS OF PRIVATEERING BY BREACH OF CONTRACT

 

 

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217Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

218Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

219The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

220That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWEENTH CAUSE OF ACTION

OR. TAKINGS)

221Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
222Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
223As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
224Plaintiff is entitled to damages and repossession of the converted monies and will seek

their election of remedies, at the time of trial.

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225Plaintiff is further entitled to compensation for the time and money expended in pursuit
of the removal of the fraudulent charges.

226Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

227Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

228Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

229Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

230Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

231The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

232That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWENTY FIRST CAUSE OF ACTION

(VIOLATION OF LAW BY ACTS OF COLLUSSION)

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233Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

234Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

235As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

236Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

237Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

238Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordin
to proof at the time of trial.

239Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

240Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

241Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

242Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further

relief as this Court deems just and proper.

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243The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;
244That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
TWENTY SECOND CAUSE OF ACTION
(VIOLATION OF PAPER TERRORISM)
245Plaintiff re-alleges and incorporates by reference all preceding allegations of law and —
facts as it fully set forth herein;
246Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
247As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
248Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

249Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

250Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

251Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

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252Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

 

253Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

254Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

255The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

256That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWENTY THIRD CAUSE OF ACTION

(VIOLATION OF FREEDOM OF INFORMATION OR PRIVACT ACT AT 5 USC 552
AND 552(A) MISREPRESENTATION OF AGREEMENT)
257Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
258Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
259As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at

the time of trial, including all damages, in excess of $75,000.
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260Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
261Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

262Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

263Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

264Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

265Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

266Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

267The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

268That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and

costs of suit incurred herein.

TWENTY FOURTH CAUSE OF ACTION
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(VIOLATION OF FDCPA 15 USC 1692 (e)(g)(a))

269Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

270Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

271As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

272Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

273Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

274Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages accordi
to proof at the time of trial.
275Plaintiff prays for relief in the form of damages according to proof, at the time of trial.
276Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems
277Plaintiff request this Court grant costs with actual damages, statutory damages, and

such further relief as this Court deems just and proper.

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278Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.
279The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;
280That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
TWENTY FIFTH CAUSE OF ACTION
(VIOLATION OF 15 USC 1692d)
281 Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
282Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
283As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
284Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
285Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

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286Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

287Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

288Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

289Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

290Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

291The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

292That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWENTY SIXTH CAUSE OF ACTION
(VIOLATION OF STATE CONSUMER PROTECTION LAWS)
293Plaintiff re-alleges and incorporates by reference all preceding allegations of law and

facts as it fully set forth herein;

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294Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
295As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
296Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
297Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

298Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

299Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

300Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

301Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

302Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

303The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the

Plaintiff to recover punitive damages as well as actual damages;
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304That it may be necessary for Plaintiff to retain the services of an attorney to prosecute
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.
TWENTY SEVENTH CAUSE OF ACTION
(BREACH OF GOOD FAITH AND FAIR DEALINGS)
305Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;
306Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.
307As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.
308Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.
309Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.

 

310Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

311Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

312Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court

deems

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313Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

314Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

315The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

316That it may be necessary for Plaintiff to retain the services of an attorney to prosecutd
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and
costs of suit incurred herein.

TWENTY EIGHTH CAUSE OF ACTION

(UNFAIR AND UNLAWFUL CONDUCT & UNFAIR TRADE PRACTICE)

317Plaintiff re-alleges and incorporates by reference all preceding allegations of law and
facts as it fully set forth herein;

318Plaintiff is informed and believes, and alleges that the property was for Defendant's
own purposes of retaining the fraudulent charges.

319As a result of Defendant's act, Plaintiff has been damaged in the sum to be proven at
the time of trial, including all damages, in excess of $75,000.

320Plaintiff is entitled to damages and repossession of the converted monies and will seek
their election of remedies, at the time of trial.

321Plaintiff is further entitled to compensation for the time and money expended in pursuit

of the removal of the fraudulent charges.
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322Defendants acted with willful oppression, fraud, malice and in conscious disregard of
the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages according
to proof at the time of trial.

323Plaintiff prays for relief in the form of damages according to proof, at the time of trial.

324Plaintiff further seek full compensation for the time and money expended in pursuit of
the property and punitive and exemplary damages and such further relief as this Court
deems

325Plaintiff request this Court grant costs with actual damages, statutory damages, and
such further relief as this Court deems just and proper.

326Plaintiff further seek full compensation for the time and money expended in pursuit of
disputing and litigating the charges, punitive and exemplary damages, and such further
relief as this Court deems just and proper.

327The violation by Defendants, which was willful or negligent, was conducted by such
malice, insult, and abuse that it constituted an independent tort, thus entitling the
Plaintiff to recover punitive damages as well as actual damages;

328That it may be necessary for Plaintiff to retain the services of an attorney to prosecutd
this action and, therefore, Plaintiff is entitled to reasonable legal & attorney fees and

costs of suit incurred herein.

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DEMAND FOR JURY TRIAL

Mschell frit

Michelle Bertsch

4030 Deerfield Avenue
Las Vegas, Nevada 89147
702-371-8288

In Proper Person

Plaintiff demands a jury trial in the instant action.

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SAN JOSE, CALIFORNIA 95113-3095

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